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                                                             February 27, 2025

  VIA ECF
  Hon. Pamela K. Chen
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East, Courtroom 4F
  Brooklyn NY 11201

         Re: Estate Of Danila Belov, et. al. v. Consolidated Communications Holdings, Inc., et. al.
            Case No. 1:25-cv-00297-PKC-JRC

  Request for Pre-Motion Conference or Leave to Make a Rule 12(b)(1) Motion to Dismiss

  Dear Respected District Judge Chen:

         We represent Defendant Anirudha, Inc., a New York Domestic Business Corporation,

  and write pursuant to § 3(A) of Your honor’s Individual Practices and Rules, seeking a pre-

  motion conference, or leave to make a motion to dismiss pursuant to Fed. R. Civ. Pro. 12(b)(1).

         In this wrongful death action, seemingly governed by the state law of Maine, the

  Plaintiffs seek to invoke federal diversity jurisdiction despite both the decedent and defendant

  Anirudha being citizens of New York. The complaint alleges that decedent Danila Belov was a

  resident of Brooklyn, New York. (ECF Doc. 1 ¶ 1). Likewise, the complaint further alleges that

  Defendants AA Tech and Anirudha are New York business entities. Id. at ¶¶ 13, 14. While the

  complaint alleges that the decedent was a Russian citizen (id. at ¶¶ 1, 28), the defendants have

  good cause to dispute that allegation given that the Petition for Administration filed with the

  Kings Count Surrogate’s Court reports that the decedent is a United States citizen with a home

  address of 3109 Brighton 7th Street, #1N, Brooklyn, NY 11235. Moreover, the complaint itself




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  alleges that the decedent formed a United States business and was working in the United States –

  also suggesting citizenship or lawful permanent residence.

             The first page1 of the Petition for Administration is annexed hereto.

             The Complaint erroneously states that this Court has subject matter jurisdiction pursuant

  to 28 U.S.C. § 1332(a). However, the complaint urges that this is based on the citizenship of the

  decedent or his parents. Id. at ¶¶ 16, 17. If the decedent was a United States citizen, as the

  Personal Representative of the Plaintiff’s decedent swore is true in the Surrogate’s Court

  petition, or a permanent resident of the United States, then the Personal Representative is deemed

  a resident of New York for diversity purposes. 28 U.S.C. § 1332(a)(2), (c)(2). Accordingly,

  complete diversity does not exist between the parties here, warranting dismissal for want of

  subject matter jurisdiction.

             We thank the Honorable Court for its attention to and consideration of this Application.


                                                                     Respectfully submitted,


                                                                     Amedeo Calandriello

  cc:
  All appearing counsel




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      Only the first page is provided to remain in conformity with your Honor’s three (3) page limit for Pre-Motion
        Letters. Should this Court require the full Petition, this firm will happily upload the entirety of the documents.

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